              IN THE DISTRICT COURT OF THE UNITED STATES
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          ASHEVILLE DIVISION
                                1:08 CR 59


UNITED STATES OF AMERICA                     )
                                             )
Vs.                                          )             ORDER
                                             )
JAMARUS MARQUIS SUTTON.                      )
______________________________________       )


       THIS CAUSE came on to be heard and was heard before the undersigned,

pursuant to a letter (#74) that was sent to United States District Judge Lacy

Thornburg by the defendant on January 15, 2009. In the correspondence, the

defendant requests that he be appointed substitute counsel for his present court

appointed attorney R. Edward Hensley, Jr.        Upon the call of this matter on for

hearing, it appeared that the defendant was present and Mr. Hensley, counsel for the

defendant, was not present and the Government was represented by Assistant United

States Attorney Don Gast. The court requested that the Clerk’s office attempt to

contact Mr. Hensley. The Clerk reported back that the telephone calls that were made

to Mr. Hensley’s office on January 20, 2009, the date of the hearing of this matter,

were not answered. The Clerk further attempted to contact Mr. Hensley at his home

telephone number and the Clerk received a message that the telephone had been

disconnected. As a result of being unable to contact Mr. Hensley and the need to

expedite this matter, the undersigned determined to go forward with the hearing.


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      Findings. The court made inquiry of the defendant in this matter to determine

the reasons why the defendant did not wish for Mr. Hensley to represent him in this

matter. The defendant advised he had been told by Mr. Hensley that Mr. Hensley

would come to see him after the presentence report was prepared. The defendant

received notification from the probation office that the presentence report had been

prepared and examined the report. The defendant wanted to raise some objections to

the report but Mr. Hensley has not yet been to see the defendant. The undersigned

examined the report (#70) which appeared to have been filed on January 7, 2009. In

the letter to the district court, the defendant reported that he had not heard from nor

seen Mr. Hensley from and after August 25, 2008 which was the date the defendant

entered a plea of guilty in this matter. Further review of the file showed to the court

that a presentence investigation report (#65) had been filed on December 15, 2008

and then later a report (#70) dated January 7, 2009 had been filed.

      Discussion:     An indigent defendant has no right to have a particular lawyer

represent him or her and can demand a different appointed attorney only with good

cause. United States v. Allen, 789 F.2d 90, 92 (1st Cir. 1986). The determination

of whether or not the motion for substitution of counsel should be granted is within

the discretion of the trial court and the court is entitled to take into account the

countervailing state interest in proceeding on schedule. Morris v. Slappy, 461 U.S.

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1 (1983). Considering the motion herein, the undersigned has considered the

following factors: (1) timeliness of the motion; (2) inquiry as to the reasons why the

defendant does not wish for Mr. Hensley to represent him further; and, (3) whether

or not there is such a conflict between the defendant and Mr. Hensley that is so great

that it has resulted in a total lack of communication preventing an adequate defense.

United States v. Gallop, 838 F.2d 105 (4th Cir. 1988).

      The draft presentence investigation report in this matter was filed on December

15, 2008. Thereafter the defendant did not have any contact from his counsel. There

were no objections filed to the draft report which then became the final presentence

investigation report on January 7, 2009. The defendant has still not had any contact

from his counsel despite the fact the defendant wished to present objections to the

presentence report. The defendant has timely made a motion for substitution of

counsel. This factor must be weighed in favor of granting the defendant’s motion.



      The undersigned inquired as to the reasons for the conflict between the

defendant and his attorney. It appears that the defendant’s attorney has not visited the

defendant nor discussed with him either presentence investigation report and as a

result, the defendant has not been allowed to raise any objections he might have to the

reports. This degree of conflict must be weighed in favor of allowing the motion.

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      The court has further examined the matter to determine whether or not there is

such conflict between the defendant and Mr. Hensley that there is a total lack of

communication between them preventing an adequate defense. There has been a total

lack of communication between the defendant and Mr. Hensley. Mr. Hensley has not

contacted the defendant in regard to the draft or the final presentence investigation

reports nor has Mr. Henlsey been to visit with the defendant.

      After considering all the factors, it appears that the defendant has shown

sufficient cause and reason for the undersigned to allow the defendant’s motion to

substitute counsel and to appoint another attorney in this matter.



                                      ORDER

       IT IS, THEREFORE, ORDERED that the letter (#74) of the defendant to the

district court which the undersigned has considered as a motion to substitute counsel

is ALLOWED and substitute counsel be appointed by the Federal Defenders’ Office

as soon as practicable and substitute counsel immediately file a motion with the

district court requesting an extension of any time limits that there may be for the

defendant to file objections to the presentence investigation reports so that the

defendant’s objections may be presented in this matter.




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                                Signed: January 28, 2009




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